              Case 3:12-mj-02547-DEA            Document 20         Filed 07/02/12         Page 1 of 3 PageID: 144
                                 UNITED STATEs DISTRICT COURT
                     for the                      District of                          New Jersey




              United States of America

                                                                          ORDER SETTING CONDITIONS
                            V.                                                          OF RELEASE
                 RANDY BINDER

                                                                               Case Number:        12-2547-8(DEA)
                      Defendant



IT IS ORDERED on this 28TH day of JUNE, 2012 that the release of the defendant is subject to the following
conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
        (3) The defendant must im: nediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address nd/or telephone number.
        (4) The defendant must ar pear in court as required and must surrender to serve any sentence imposed.
                                                         Release on Bond

Bail be fixed at $ ILL),, (JU(_)                and the defendant shall be released ‘tpon:

      (   euting an unsecurd appearance bond ( ) with co-signor(s).__.
          )
      (L’xecuting a secured appearance bond ( L)h co-signor(s)                 I(
          and ( ) depositing ir cash in the registry of the Court       of he bail fixed; and/or ( ) execute an
          agreement to forfeit esignated property located at
          Local Criminal Rule 46. 1(d)(3) waived/not waived by the Court.
      ( ) Executing an appewance bond with approved sureties, or the depo3it of cash in the full amount of the bail
          in lieu thereof

                                               Additional Conditions of Release

Upon finding that release by t e above methods will not by themselves reasor ably assure the appearance of the
defendant and the safety of ot icr persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

iT IS FULHEk ORDEREL that, in addition to the above, the following conitions are imposed:
      (‘—1 Report to Pretrii Services (“PTS”) as directed and advise them immediately of any contact with law
          pt6rcement per onnel, including but not limited to, any arrest, qustioning or traffic stop.
      (     The defendant shall not attempt to influence, intimidate, or injure ny juror or judicial officer: not tamper
          .ikh any witne, victim, or informant; not retaliate against any wmne victim or informant in this case,
     (V The defendant nall be released into the third party custody of            _
                                                                                       11’ 8/,’dr
              who agrees (a) io supervise the defendant in accordance with all the c nditions ofrelease, (b,) to use every effort
              to assure the a’earance of the defendant at all scheduled court procc?dings, and cc,) to notijj.’ the court
              imrndiately iii the event the defendant dolates an conditions ofeleae or disappears.


               Custodian SLgnature:                                                Date:       I
                                                                                                   2i’   1
                                                                                                                           PG 1 01- 3


      (4”he defenda .t’s travel is restrict ;d to ( Lersey (                ) Other__________________________________
                                                                               ss approved by Pretrial Services (PTS).
    Case 3:12-mj-02547-DEA Document 20 Filed 07/02/12 Page 2 of 3 PageID: 145
                 all passports and travel documents to PTS, Do not apply for new travel documents.
    Substance abuse testing and/or treatment as directed by PTS, Refrain from obstructing or tampering with
    substance abuse testing procedures/equipment/
( ) Refrain   from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
    Jme in which the defendant resides shall be removed by                          and verification provided to PTS.
(t4 Mental health testing/treatment as directed by PTS,
( ) bstain from the use of alcohol.
(4 Maintain current residence or a residence approved by PTS,
( ) Maintain or actively seek employment and/or commence an education program.
( ) N contact with minors unless in the presence of a paren or ardian who is a are of the present offense.
lave no contact with the following individuals: fJ
4
(t                                                                        dZL44J4 tL,1fft14.
                                                                                          ...D4
                                                                                          4
( ) Defendant is to participate in one of the following home confinement progr            components and abide by
    all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
    location verification system. You shall pay all or part of the cost of the program based upon your ability to
    pay as determined by the pretrial services office or supervising officer.
     ( ) (i) Curfew. You are restricted to your residence every day ( ) from                     to          or
                  ( ) as directed by the pretrial services office or supervising offi er; or
     ( )   (ii)   Home Detention. You are restricted to your residence at all times except for employment;
                  education; religious services; medical, substance abuse, or mental health treatment; attorney
                 visits; court appc arances; court-ordered obligations; or other activities as pre-approved by
                 the pretrial servi :es office or supervising officer; or
     ( )   (iii) Home Incarcen tion. You are restricted to your residence at all times except for medical
                 needs or treatment, religious services, and court appearances or other activities pre-approved
                 by the pretrial se vices office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which ay include manual
      inspection and/or the insta [ation of computer monitoring sofiware as deeir d appropriate by
      Pretrial Services;
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                  connected devic s.
      ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                             -



                  devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                  Servers, Instant .Vlessaging, etc);
      ( )   (iii) Computer    With Internet Access: defendant is permitted use of .omputers or connected
                  devices, and is permitted access to the Internet (World Wide Web, Fl’P Sites, IRC Servers,
                  Instant Messaging, etc.) for purposes pre-approved by Pretrial ServiDes at
                  [ ] home [ J for employment purposes.
      ( )   (iv)  Consent   of Other Residents -by consent of other residents in the home, any computers in
                  the home utilized by other residents shall be approved by Pretrial Services, password
                  protected by a third party custodian approved by Pretrial Services, and subject to inspection
                  for compliance by Pretrial Services.

 (‘i’Other:


 ( ) Other:

 (/&her:
                                    A<S    a
                                                                                                              Page 2 of 3
               Case 3:12-mj-02547-DEA        Document 20         Filed 07/02/12      Page 3 of 3 PageID: 146
                                     ADVICE OF PENALTIES AND SANCTIONS

T(i THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant
 for your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt
 of court and could result in imprisonment, a fine, or both.
           While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year.
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
           It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliatç against a witness, victim, or
 informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are siificantly more serious if they involve a killing or attempted killing.
           If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
               (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                    —  you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
               (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you
                                                                                                                         —




                     will be fined not more than $250,000 or imprisoned for not mo:’e than five years, or both;
               (3) any other felony— you will be fined not more than $250,000 or inprisoned not more than two years, or
                     both;
               (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                    —




                     both.
               A  term  of imprisonment imposed for failure to appear or surrender wil: be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiturc of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.

                                                                     7/
                                                                 “        Defendant s Signature
                                                                     j’&/ 4/
                                                                                City and State

                                         Directions to the United States Marshal
   ( The defendant is ORDERED released after processing.
   ( ) The United States marshal s ORDERED to keep the defendant in custody until notified by the clerk or judge
       that the defendant has posted bond and/or complied with all other conditions for release, If still in custody, the
       defendant must be produced before the appropriate judge at the time and place specified.

  Date:
                                                                         Juç(iciaOfficer ‘s Signature


                                                                          Printed name and title
  (REv 1/09)                                                                                                         PAGE3OF3
